






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-10-00120-CV







Walter Lee Hall, Jr., Appellant


v.


HSBC Mortgage Services, Inc., its Successors and Assigns, Appellee







FROM THE COUNTY COURT AT LAW NO. 2 OF TRAVIS COUNTY

NO. C-1-CV-07-010279, HONORABLE J. DAVID PHILLIPS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	On April 15, 2011, we dismissed this appeal for want of prosecution because
appellant Walter Lee Hall, Jr. had not filed his brief by the February 23 deadline set when we granted
a motion for extension of time.  See Tex. R. App. P. 42.3(b).   Almost immediately after that opinion
issued, Hall filed a motion for rehearing attaching a copy of a bankruptcy petition that he filed in the
U.S. Bankruptcy Court of the Western District of Texas on January 24, 2011.  We therefore reinstate
the appeal and abate it until a party files a motion to reinstate or a motion to sever.  See
id.&nbsp;R.&nbsp;8.1,&nbsp;8.2, 8.3.  Hall is ordered to inform this Court within ten calendar days of the resolution
of the bankruptcy proceeding or some other event that would allow the appeal to be reinstated. 
Should Hall fail to provide such notice, the appeal will be subject to dismissal for want of
prosecution on this Court's or another party's motion.

						____________________________________

						David Puryear, Justice

Before Justices Puryear, Pemberton and Rose

Bankruptcy

Filed:   June 2, 2011



